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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 5.1.1
                                 Eastern Division

Wilson Sporting Goods Co
                                    Plaintiff,
v.                                                     Case No.: 1:11−cv−02524
                                                       Honorable Joan B. Gottschall
Prince Sports Inc
                                    Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, January 18, 2013:


        MINUTE entry before Honorable Joan B. Gottschall: Pursuant to Joint Notice of
Voluntary Dismissal [38], this action is dismissed with prejudice subject to the parties'
settlement agreement. The parties shall bear their own costs and attorneys39; fees. Civil
case terminated. Mailed notice(rj, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
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